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                                                                                                                                                 File Date: 5/11/2021 1:07 PM
                                                        Case 1:21-cv-00507-JD Document 1-1 Filed 06/11/21                        Page   1 of 9Superior Court Southern District
                                                                                                                                  Hillsborough
                                                                                                                                                            E-Filed Document
                                                                     THE STATE OF NEW HAMPSHIRE
                                                                                    JUDICIAL BRANCH
                                                                                  http://www.courts.state.nh.us

                                   Court Name:           Hillsborough - Superior Court-Southern District

                                   Case Name:            Sanjeev Lath v. NASHUA SOUP KITCHEN AND SHELTER, INC.
                                                                 226-2021-CV-00246
                                   Case Number:
                                    (if known)
                                                                                        COMPLAINT
                                                               Requested:       Jury Trial (as allowed by law)              Bench Trial
                                   1. Plaintiff’s Name Sanjeev Lath
                                       Residence Address P.o.box 1508, Nashua, NH 03061
                                       Mailing Address (if different)
                                       Telephone Number (Home) (603) 459-9599                                  (Mobile)


                                   2. Defendant’s Name NASHUA SOUP KITCHEN AND SHELTER, INC.
                                       Residence Address 2 Quincy Street, Nashua, NH 03060
                                       Mailing Address (if different) Po Box 3116, Nashua, NH 03061
                                       Officer or Authorized Agent: Mary Slocum

                                   3. First thing that happened (in one sentence):
                                       Claim amount: $15,000.00. On March 30, 2018, Lath’s home at 710 Northbrook Drive in
                                       Manchester was foreclosed and sold at a public auction to Lath’s loan servicer,

                                       PennyMac Loan Services, LLC.




                                   4. Second thing that happened (in one sentence):
                                       At all times relevant complained hereto, Complainant Sanjeev Lath was homeless with
                                       no place of residence or permanent home.




                                   5. Third thing that happened (in one sentence):
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                                       Complainant Sanjeev Lath is a natural person with current residence at 60 Whitney
                                       Street, Apt 2 in Nashua NH 03064




                                   Continue on using separately numbered paragraphs (attach additional sheets if necessary).
                                   NHJB-2688-Se (07/01/2018)                                  Page 1 of 2
                                                                        This is a Service Document For Case: 226-2021-CV-00246
                                                                              Hillsborough Superior Court Southern District
                                                                                           5/12/2021 11:25 AM
                                                  CaseLath
                                   Case Name: Sanjeev  1:21-cv-00507-JD
                                                           v. NASHUA SOUPDocument 1-1 SHELTER,
                                                                          KITCHEN AND  Filed 06/11/21
                                                                                                 INC. Page 2 of 9
                                   Case Number:
                                   COMPLAINT
                                   For the reasons stated in this Complaint, I request that the Court issue the following orders:
                                   A. Describe the orders you want the Court to make:
                                   Enter a Judgment against Defendant for violation of RSA 354-A:12 III (b)
                                   Enter a Judgment against Defendant for violation of RSA 354-A:10 VI
                                   A Judgment for compensatory damages




                                   B. All other relief the Court deems fair and just. [See Attachment(s), 'Item A' (continued)]

                                   Sanjeev Lath                                                        /s/ Sanjeev Lath                5/11/21
                                   Name of Filer                                                        Signature of Filer                Date
                                                                                                            (603) 459-9599
                                   Law Firm, if applicable             Bar ID # of attorney                 Telephone
                                    P.o.box 1508                                                            lath_sanjeev@outlook.com
                                   Address                                                                  E-mail
                                   Nashua, NH 03061
                                   City                        State              Zip code
TurboCourt.com Form Set #5698778




                                   NHJB-2688-Se (07/01/2018)                                  Page 2 of 2
                                                 Case 1:21-cv-00507-JD Document 1-1 Filed 06/11/21 Page 3 of 9


                                                                                 Attachment Page 1                   (of 2         )
                                   To Complaint

                                    Additional Claim Details
                                    6. At all times relevant complained hereto, defendant’s employee, Giovanna
                                    Cruz was and still is the shelter manager of shelter owned and operated by
                                    Nashua Soup Kitchen and Shelter, Inc (“NSKS”) being located at 58 Ash
                                    street in Nashua NH 03060.


                                    7. At all times relevant, Nashua Soup and Kitchen and Shelter or NSKS is a
                                    homeless shelter, being operated by and thru their office located at 2
                                    Quincy Street in Nashua NH 03061.


                                    8. At all times relevant, Olga Cruz was the Program director and had
                                    oversight of the shelter.


                                    9. At all times relevant, Olga Cruz is the biological sister of Giovanna
                                    Cruz and also Giovanna’s supervising manager.


                                    10. On or about April 26, 2018, Lath began staying at the homeless shelter
                                    being located at 58 Ash Street.


                                    11. On May 1, 2018, Lath also disclosed to the Shelter manager, Giovanna
                                    that Lath had AIDS.


                                    12. The Federal Fair Housing Act defines “handicap” as “a physical or mental
                                    impairment which substantially limits one or more of such person's major
                                    life activities.”


                                    13. On the same day, May 1, 2018, Lath requested a reasonable accommodation
                                    based upon his disability.


                                    14. On May 31, 2018, Giovanna called Lath in her office and told Lath that
                                    he could no longer live at the shelter and that she did not care Lath has
                                    AIDS but that Lath cannot die at the shelter.


                                    15. Giovanna Cruz went on to say, “God Bless You!”
TurboCourt.com Form Set #5698778




                                    16. Lath requested exemption from the rule requiring Lath to look for work
                                    because of Lath’s disability.


                                    17. During my stay at the shelter, Lath continued to perform all chores,
                                    keep all his appointments with shelter personnel and other social service

                                   If the item that this Attachment concerns is made under penalty of perjury, all statements in this Attachment are made under penalty of perjury.
                                                 Case 1:21-cv-00507-JD Document 1-1 Filed 06/11/21 Page 4 of 9


                                                                                 Attachment Page 2                   (of 2         )
                                   To Complaint

                                    agencies. (contd.)


                                    Item A (continued)
                                    A Judgment for general damages
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                                   If the item that this Attachment concerns is made under penalty of perjury, all statements in this Attachment are made under penalty of perjury.
                     Case 1:21-cv-00507-JD Document 1-1 Filed 06/11/21 Page 5 of 9

                               THE STATE OF NEW HAMPSHIRE
                                                JUDICIAL BRANCH
                                                 SUPERIOR COURT
Hillsborough Superior Court Southern District                                                    Telephone: 1-855-212-1234
30 Spring Street                                                                             TTY/TDD Relay: (800) 735-2964
Nashua NH 03060                                                                                 http://www.courts.state.nh.us


                                      SUMMONS IN A CIVIL ACTION



Case Name:             Sanjeev Lath v Nashua Soup Kitchen and Shelter, Inc.
Case Number:           226-2021-CV-00246

Date Complaint Filed: May 11, 2021
A Complaint has been filed against Nashua Soup Kitchen and Shelter, Inc. in this Court. A copy of the
Complaint is attached.

The Court ORDERS that ON OR BEFORE:
June 26, 2021         Sanjeev Lath shall have this Summons and the attached Complaint
                      served upon Nashua Soup Kitchen and Shelter, Inc. by in hand or by
                      leaving a copy at his/her abode, or by such other service as is allowed by
                      law.
July 17, 2021                   Sanjeev Lath shall electronically file the return(s) of service with this Court.
                                Failure to do so may result in this action being dismissed without further
                                notice.
30 days after Defendant         Nashua Soup Kitchen and Shelter, Inc. must electronically file an
is served                       Appearance and Answer or other responsive pleading form with this
                                Court. A copy of the Appearance and Answer or other responsive
                                pleading must be sent electronically to the party/parties listed below.

Notice to Nashua Soup Kitchen and Shelter, Inc.: If you do not comply with these requirements
you will be considered in default and the Court may issue orders that affect you without your input.
Send copies to:
 Sanjeev Lath                                PoBox 1508 Nashua NH 03061
 Nashua Soup Kitchen and                     Po Box 3116 Nashua NH 03061
 Shelter, Inc.
                                                                   BY ORDER OF THE COURT

May 12, 2021                                                       Amy M. Feliciano
                                                                   Clerk of Court
(126849)




NHJB-2678-Se (07/01/2018)
                                    This is a Service Document For Case: 226-2021-CV-00246
                                          Hillsborough Superior Court Southern District
                                                       5/12/2021 11:25 AM
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                               THE STATE OF NEW HAMPSHIRE
                                                JUDICIAL BRANCH
                                                 SUPERIOR COURT
Hillsborough Superior Court Southern District                                       Telephone: 1-855-212-1234
30 Spring Street                                                                TTY/TDD Relay: (800) 735-2964
Nashua NH 03060                                                                    http://www.courts.state.nh.us


                                           SANJEEV LATH
                                    INSTRUCTIONS FOR SERVICE
                                   BY THE SHERIFF’S DEPARTMENT


Case Name:             Sanjeev Lath v Nashua Soup Kitchen and Shelter, Inc.
Case Number:           226-2021-CV-00246
Instructions for: Sanjeev Lath
The attached Summons must be sent to the Sheriff’s Department for service. Service must be completed
on or before June 26, 2021.
Further action is required by you
You must:
   Print two copies of the Summons per defendant
   Print two copies of the Notice to Defendant per defendant
   Print two copies of the Complaint filed with the Court per defendant
   Make two packets for service. Each packet should contain:
             o One Summons
             o Once Notice for Defendant
             o One Complaint filed with the Court
   Mail or hand deliver the packets to the Sheriff’s Department in the county where each
      defendant resides.
Sheriff Departments in New Hampshire:
Belknap County Sheriff’s Department:         Hillsborough County Sheriff’s Department:
Carroll County Sheriff’s Department:         Merrimack County Sheriff’s Department:
Cheshire County Sheriff’s Department:        Rockingham County Sheriff’s Department:
Coos County Sheriff’s Department:            Strafford County Sheriff’s Department:
Grafton County Sheriff’s Department:         Sullivan County Sheriff’s Department:

*If one or more of the parties resides out of state, please click here for the requirements*
Service must be made upon the defendant before June 26, 2021.

If the Sheriff is unable to complete service by June 26, 2021 you will receive a “Notice of Incomplete
Service” from the Sheriff’s Department. You may request that new paperwork be issued by electronically
filing a Request for Documents. There is a fee for this request.

The Sheriff will mail the ‘Return of Service’ to you. You MUST electronically file the ‘Return of Service’
with the court by July 17, 2021.

If service is not made as directed, no further action will occur and the case may be dismissed by
the court.

NHJB-2678-Se (07/01/2018)
                     Case 1:21-cv-00507-JD Document 1-1 Filed 06/11/21 Page 7 of 9

                   Important Service Information for Sheriff
                                        Do not file this with the court
                            Provide this information to the Sheriff’s Department.
                             See Instructions for Service for more information.
                                              PLEASE PRINT CLEARLY
Date:                                                     Case #:
Who are you requesting to be served?
Please provide whatever information you know
Name:
Address for service (no P.O. boxes):
                                                                 APT #:


Home phone #:                                      Cell phone #:
Sex:       Male             Female                 Race:
Last 4 digits of SS#: xxx-xx-                                                    D.O.B.
Work name & address:


Special instructions for service (i.e. directions, best time to serve, cautions, etc.):



Vehicle description/license plate:


Your Information:
Name (please print):
Residential address:                                             Mailing address:



Phone number to contact you during business hours:
                                           Alternate #:


                                                                 Signature

          ♦IN-HAND SERVICE WILL INCUR EXTRA COSTS DUE TO ADDITIONAL TRAVEL♦

SHERIFF OFFICE USE ONLY: (This will vary by Sheriff’s Office)
Fees Paid: $                         Cash #:                    Check#:
Id#:             Waiver:               Money Order#:                            Credit Card:
Sheriff File #                                                            Authorization #:

NHJB-2678-Se (07/01/2018)
                     Case 1:21-cv-00507-JD Document 1-1 Filed 06/11/21 Page 8 of 9

Instructions for filing the Return of Service:
If you are working with an attorney, they will guide you on the next steps. If you are going to
represent yourself in this action, go to the court’s website: www.courts.state.nh.us, select the
Electronic Services icon and then select the option for a self-represented party.

    1. Select “I am filing into an existing case”. Enter 226-2021-CV-00246 and click Next.
    2. When you find the case, click on the link follow the instructions on the screen. On the “What
       would you like to file?” screen, select “File Other Document” and choose “Return of Service”.
    3. Scan the Return of Service packet and follow the instructions in the electronic filing program to
       upload the Return of Service to complete your filing.
    4. If the sheriff was unable to serve the paperwork, you can request new paperwork by filing a
       Request for Documents. On the “What would you like to file?” screen, select “File Other
       Document” and choose “Request for Reissued Summons” from the menu and upload the
       Request for Documents form.


FAILURE TO FILE THESE DOCUMENTS MAY RESULT IN YOUR CASE BEING DISMISSED.

May 12, 2021                                            Amy M. Feliciano
Date                                                    Clerk of Court

You can access documents electronically filed through our Case Access Portal by going to
https://odypa.nhecourt.us/portal and following the instructions in the User Guide. In that process you
will register, validate your email, request access and approval to view your case. After your
information is validated by the court, you will be able to view case information and documents filed in
your case.




NHJB-2678-Se (07/01/2018)
                     Case 1:21-cv-00507-JD Document 1-1 Filed 06/11/21 Page 9 of 9


                               THE STATE OF NEW HAMPSHIRE
                                                JUDICIAL BRANCH
                                                 SUPERIOR COURT
Hillsborough Superior Court Southern District                                    Telephone: 1-855-212-1234
30 Spring Street                                                             TTY/TDD Relay: (800) 735-2964
Nashua NH 03060                                                                 http://www.courts.state.nh.us


                                          NOTICE TO DEFENDANT
Case Name:                  Sanjeev Lath v Nashua Soup Kitchen and Shelter, Inc.
Case Number:                226-2021-CV-00246
You have been served with a Complaint which serves as notice that this legal action has been filed
against you in the Hillsborough Superior Court Southern District. Review the Complaint to see
the basis for the Plaintiff’s claim.
Each Defendant is required to electronically file an Appearance and Answer 30 days after service.
You may register and respond on any private or public computer. For your convenience, there is also
a computer available in the courthouse lobby.
If you are working with an attorney, they will guide you on the next steps. If you are going to
represent yourself in this action, go to the court’s website: www.courts.state.nh.us, select the
Electronic Services icon and then select the option for a self-represented party.
       1. Complete the registration/log in process. Click Register and follow the prompts.
        2. After you register, click Start Now. Select Hillsborough Superior Court Southern
           District as the location.
        3. Select “I am filing into an existing case”. Enter 226-2021-CV-00246 and click Next.
        4. When you find the case, click on the link and follow the instructions on the screen. On the
           “What would you like to file?” screen, select “File a Response to Civil Complaint”. Follow
           the instructions to complete your filing.
        5. Review your Response before submitting it to the court.

IMPORTANT: After receiving your response and other filings the court will send notifications and
court orders electronically to the email address you provide.
A person who is filing or defending against a Civil Complaint will want to be familiar with the Rules of
the Superior Court, which are available on the court’s website: www.courts.state.nh.us.
Once you have registered and responded to the summons, you can access documents electronically
filed by going to https://odypa.nhecourt.us/portal and following the instructions in the User Guide. In
that process you will register, validate your email, request access and approval to view your case.
After your information is validated by the court, you will be able to view case information and
documents filed in your case.


If you have questions regarding this process, please contact the court at 1-855-212-1234.




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